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              EXHIBIT 6
                Errata Sheet: Cesar Espinosa
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Errata Sheet: Cesar Espinosa (10/4/2023) (Trial Day 11)

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